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Marcus A. Helt (TX 24052187)
C. Ashley Ellis (TX 00794824)
Melina Bales (TX 24106851)
FOLEY GARDERE
FOLEY & LARDNER LLP
2021 McKinney Avenue, Suite 1600
Dallas, TX 75201
Telephone: 214.999.3000
Facsimile: 214.999.4667

PROPOSED COUNSEL TO DEBTOR
REAGOR AUTO MALL LTD

                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

   IN RE:                                              §
                                                       §
   REAGOR AUTO MALL LTD,                               § Case No. 18-50324-rlj-11
                                                       § Joint Administration Requested
                                 Debtor.               §

                                   NOTICE OF HEARING

TO ALL PARTIES-IN-INTEREST:

         PLEASE TAKE NOTICE that a hearing on the following motions has been set for

November 20, 2018 at 10:00 a.m. prevailing Central Time, before the Honorable Judge Robert

L. Jones at the United States Bankruptcy Court, Room 314, 1205 Texas Avenue, Lubbock, Texas

79401:

            1. Debtor’s Motion for Entry of an Order (I) Prohibiting the Utility Providers from

               Altering, Refusing, or Discontinuing Services, (II) Approving the Proposed

               Adequate Assurance Procedures, and (III) Granting Related Relief [Docket

               No.42];

            2. Debtor’s Motion for Joint Administration with Existing Reagor-Dykes Cases

               [Docket No. 35]; and

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           3. Debtor’s Emergency Motion for Interim and Final Orders (I) Authorizing the

              Debtors to Use Cash Collateral, (II) Granting Adequate Protection and (III)

              Scheduling a Final Hearing [Docket No. 18].



DATED: November 17, 2018                    Respectfully submitted,

                                            By: /s/ Marcus A. Helt
                                            Marcus A. Helt (TX 24052187)
                                            C. Ashley Ellis (TX 00794824)
                                            FOLEY GARDERE
                                            FOLEY & LARDNER LLP
                                            2021 McKinney Avenue, Suite 1600
                                            Dallas, TX 75201
                                            Telephone: 214.999.3000
                                            Facsimile: 214.999.4667

                                            COUNSEL TO DEBTORS REAGOR-DYKES
                                            MOTORS, LP et al.


                               CERTIFICATE OF SERVICE

      I hereby certify that, on November 17, 2018, a true and correct copy of the foregoing
document was served on all parties consenting to electronic service of this case via the Court’s
ECF system for the Northern District of Texas.


                                            /s/ Marcus A. Helt
                                               Marcus A. Helt




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                               Related Debtors and Cases

           Debtor/Entity                  Case No.                 EIN

  Reagor-Dykes Motors, LP                 18-50214              XX-XXXXXXX

  Reagor-Dykes Imports, LP                18-50215              XX-XXXXXXX

  Reagor-Dykes Amarillo, LP               18-50216              XX-XXXXXXX

  Reagor-Dykes Auto Company LP            18-50217              XX-XXXXXXX

  Reagor-Dykes Plainview, LP              18-50218              XX-XXXXXXX

  Reagor-Dykes Floydada, LP               18-50219              XX-XXXXXXX

  Reagor-Dykes Snyder, L.P.               18-50321              XX-XXXXXXX

  Reagor-Dykes III LLC                    18-50322              XX-XXXXXXX

  Reagor-Dykes II LLC                     18-50323              XX-XXXXXXX

  Reagor-Dykes Auto Mall I LLC            18-50325              XX-XXXXXXX




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